                                                                     Case 2:20-cv-01919-RFB-VCF
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                                                                7   & David Boruchowitz
                                                                8                           UNITED STATES DISTRICT COURT
                                                                9                                     DISTRICT OF NEVADA
                                                               10 ANGELA EVANS. an individual,                                 Case Number:
                                                                                                                          2:20-cv-00986-RFB-VCF
                                                               11                        Plaintiff,
MARQUIS AURBACH COFFING




                                                                          vs.
                                                               12                                                   Consolidated for discovery only with:
                          (702) 382-0711 FAX: (702) 382-5816




                                                                  VALLEY ELECTRIC ASSOCIATION,                           2:20-cv-01919-APG-DJA
                                                               13 INC.; DOES I through X; and ROE
                                Las Vegas, Nevada 89145




                                                                  Corporations XI through XX, inclusive,
                                  10001 Park Run Drive




                                                               14                      Defendant.
                                                                                                                    STIPULATION AND ORDER TO
                                                               15 ANGELA EVANS,                                     EXTEND DISPOSITIVE MOTION
                                                                                         Plaintiff,                         DEADLINE
                                                               16                                                         (Second Request)
                                                                          vs.
                                                               17
                                                                  NYE COUNTY, a political subdivision of the
                                                               18 State of Nevada; DAVID BORUCHOWITZ,
                                                                  individually,
                                                               19
                                                                                         Defendants.
                                                               20
                                                                          Plaintiff ANGELA EVANS and Defendants NYE COUNTY and DAVID
                                                               21
                                                                  BORUCHOWITZ (“the Parties”), through their respective attorneys of record, hereby
                                                               22
                                                                  stipulate to continue the dispositive motion deadline in this matter. The instant case (“NC
                                                               23
                                                                  case”) has been coordinated with Case No. 2:20-cv-00986-RFB-VCF (“VEA case”) for
                                                               24
                                                                  purposes of discovery. Counsel in the NC previously stipulated to continue deadlines to
                                                               25
                                                                  advance the case closer to trial, without waiting for the parties in the VEA case, who had
                                                               26
                                                                  extensive discovery left to complete. Discovery in the NC case closed on August 11, 2021.
                                                               27

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                                                                1          The Parties, by and through their respective counsel of record, hereby stipulate to the
                                                                2 following:

                                                                3          1.     The parties hereto agree to extend the current dispositive motion deadline
                                                                4 five judicial days from November 4, 2021 to November 12, 2021, with responses due

                                                                5 December 13, 2021.

                                                                6          2.     Currently the last day to file a Joint Pretrial Order is November 3, 2021,
                                                                7 which is pending a stipulation to vacate. In the event dispositive motion are filed, the date

                                                                8 for filing the Joint Pretrial Order shall be suspended until thirty (30) days after decision on

                                                                9 the dispositive motion or upon further Order by the Court extending the time period in
                                                               10 which to file the Joint Pretrial Order.

                                                               11          3.     This extension is sought at the request of counsel for Nye County who has
MARQUIS AURBACH COFFING




                                                               12 various scheduling conflicts with the existing dispositive deadline. The requested extension
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 is sought in good faith and not for purposes of undue delay.
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14
                                                                            IT IS SO STIPULATED.
                                                               15
                                                                    Dated this 1st day of November 2021.             Dated this 1st day of November 2021.
                                                               16

                                                               17 MARQUIS AURBACH COFFING                            LAGOMARSINO LAW

                                                               18
                                                                    By: /s/ James A. Beckstrom                       By: /s/ Andre M. Lagomarsino
                                                               19       Craig R. Anderson, Esq.                          Andre M. Lagomarsino, Esq.
                                                                        Nevada Bar No. 6882                              Nevada Bar No. 6711
                                                               20       James A. Beckstrom, Esq.                         Cory M. Ford, Esq.
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                                                                        Las Vegas, Nevada 89145                          Henderson, NV 89052
                                                               22       Attorneys for Defendants                         Attorneys for Plaintiff

                                                               23                                             ORDER

                                                               24          IT IS SO ORDERED.

                                                               25
                                                                                                                 U.S. DISTRICT COURT JUDGE
                                                               26

                                                               27                                                DATED: November 3, 2021.
                                                               28
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